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13                                UNITED STATES DISTRICT COURT
14                             NORTHERN DISTRICT OF CALIFORNIA
15                                    SAN FRANCISCO DIVISION
16
                                                      )    CASE NO. 20-CR-00249-RS (LB)
17   UNITED STATES OF AMERICA,                        )
                                                      )    STIPULATED ORDER
18          Plaintiff,                                )    CLARIFYING TERMS OF
                                                      )    PROTECTIVE ORDER
19     v.                                             )    GOVERNING DISCOVERY
     ROWLAND MARCUS ANDRADE,                          )
20                                                    )
            Defendant.                                )
21                                                    )
                                                      )
22

23
            With the agreement of the parties, the Court enters this Order to clarify the terms of the
24

25 Stipulation and Protective Order that governs discovery in this case (Dkt. #24, Oct. 15, 2020).

26 The Stipulation and Protective Order dated October 15, 2020 remains in full force and effect, but

27 with the two clarifications set forth below.

28

      CLARIFICATION OF PROTECTIVE ORDER                               Case Number: 3:20-cr-00249-RS-LBx
     Case 3:20-cr-00249-RS          Document 357         Filed 09/12/24    Page 2 of 3




 1          IT IS HEREBY ORDERED that the first paragraph of page 3 of the Stipulation and
 2   Protective Order, Dkt. #24 at 3:1-4, shall state:
 3
            The defendant, all members of the defense team, and any witnesses or
 4          experts who receive discovery under this Order shall be provided a copy
            of this Order along with those materials and shall initial and date the order
 5          reflecting their agreement to be bound by it.
 6          IT IS FURTHER ORDERED that the middle paragraph of page 3 of the Stipulation and
 7
     Protective Order, Dkt. #24 at 3:11-19, shall be clarified by including the following additional
 8
     language:
 9

10          As set forth on page 2 of this Protective Order, defense counsel may show
            witnesses discovery material produced by the government as long as
11          Personally Identifying Information and/or Financial Information has first
            been entirely redacted from the discovery materials. Redactions are
12          unnecessary when a document is shown to a witness who already has seen
13          the document because the witness drafted the document or the document
            was sent to them.
14
            IT IS SO STIPULATED.
15

16 For the Government:

17 ISMAIL J. RAMSEY
   United States Attorney
18

19        /s/
   ____________________________________                           Dated: 9/09/2024
20 CHRISTIAAN HIGHSMITH
   DAVID WARD
21 Assistant United States Attorneys
   MATTHEW CHOU
22
   Special Assistant United States Attorney
23

24 For Mr. Andrade:

25       /s/
26 ____________________________________                           Dated: 9/09/2024
   MICHAEL J. SHEPARD
27 KERRIE C. DENT
   CINDY A. DIAMOND
28

     CLARIFICATION OF PROTECTIVE ORDER                         Case Number: 3:20-cr-00249-RS-LBx
     Case 3:20-cr-00249-RS   Document 357   Filed 09/12/24     Page 3 of 3




 1   IT IS SO ORDERED.

 2

 3           9/12/2024
     Dated: ___________________

 4                                          HON. RICHARD SEEBORG
                                            Chief United States District Judge
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